Case 2:05-cv-02391-BBD-dkv Document 5 Filed 08/02/05 Page 1 of 2 Page|D 1

IN THE UNITEI) sTATF.s DISTRICT COURT m B" -?j£~ D-c-
FOR THE WESTERN DISTRICT 0F TENNESSEE 05
WESTERN DIVISION AUB '2 AH 6= h8
sUsAN PATRICIA DRAKE, THOMAS M. &‘JULD
§ Gf§;<,b%§-BMM
Plaimirr, ) in tid~€PHS
)
vs. ) Case No.: 2:05cv2391 BBD-dkv
)
MERCK & Co., INC., ) JURY DEMAND
)
Defendant. )

_ __ ORDER GRANTING STAY PENDING TRANSFER DECISION
BY THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

TI-IIS CAUSE came before the Court on the motion of Defendant Merck & Co. Ine. to stay all
pre-trial proceedings in this action, pending its likely transfer by the J udicial Panel on Multidistrict
Litigation to In re VIOXYProducts Liab. Litig. (MDL-l657), the proceeding that has been established in
the Eastem District of Louisiana to coordinate all product liability cases involving alleged health risks
from VIOXX®. The Court, having considered the motion and the entire record in the cause finds that the
motion is well-taken and should be granted.

IT IS, TI-IEREFORE, ORDERED, ADJUDGED and DECREED that all pre-trial proceedings in
this action shall be stayed, pending its likely transfer by the J udicial Panel on Multidistrict Litigation to In

re VIOXXProducts Liab. Litz'g. (MDL-1657).

so oRDERED, ADJUDGED and DECREED, this the g day of@A¢_;»_///znos.

ITED STATES DISTRICT COURT UDGE

     

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with Rule 58 andlor 79{3.) FP.CP on

DISTRIC COURT WESNTER ISRICT OF TNNESSEE

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This notice confirms a copy of the document docketed as number 5 in
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Honorable Bernice Donald
US DISTRICT COURT

